                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

IN RE:                                                )       3:09-CV-06 3:09-CV-09
                                                      )       3:09-CV-14 3:09-CV-48
                                                      )       3:09-CV-54 3:09-CV-64
                                                      )       3:09-CV-114 3:09-CV-491
                                                      )       3:09-CV-495 3:09-CV-496
                                                      )       3:09-CV-497 3:09-CV-504
TENNESSEE VALLEY AUTHORITY                            )       3:09-CV-511 3:09-CV-517
ASH SPILL CASES                                       )       3:09-CV-528 3:09-CV-529
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                                                      )       (VARLAN/GUYTON)

                                 MEMORANDUM AND ORDER

         These related actions are before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

Court, and by the referral of the Honorable Thomas A. Varlan, United States District Judge, for

disposition of matters pertaining to discovery.




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       Pursuant to the Initial Case Management Order No. 1, see, e.g. Doc. 42 in Case No. 3:09-CV-

06, and the Order on Discovery and Scheduling, see, e.g., Doc. 5 in Case No. 3:09-CV-491, which

have been entered in the above cases, this matter came before the Court for a telephone conference

to address the length of the deposition of Tom Kilgore, CEO of the Tennessee Valley Authority

(“TVA”). Attorneys Jeff Friedman, Elizabeth Alexander, Robin Greenwald, Andrew Tucker, John

Agee, James Scott, Paul Brandes, David Byrne, and Chris Cain were present representing Plaintiffs

in the various cases captioned above. Attorneys Mark Anstoetter, Edwin Small, and James Chase

were present representing TVA. Attorney Libretta Stennes was present representing WorleyParsons

Corporation, and Ashley Lowe was present representing Geosyntec Consultants, Inc.1

       Previously, the parties reached an impasse regarding whether Mr. Kilgore should be deposed.

After conducting a hearing on the issue and reviewing the parties’ various filings, the Court ruled

on May 13, 2010, that Mr. Kilgore had unique personal knowledge of the facts in these cases and

that he should be subjected to a deposition. [Doc. 80 at 4].

       In the Order entered May 13, 2010, the Court addressed the length of Mr. Kilgore’s

deposition, but, based upon the parties’ representations that a compromise was possible, the Court

left determining the length of the deposition to the parties. The Court explained:

               [U]nder Rule 30 of the Federal Rules of Civil Procedure a deposition
               is limited to one day of seven hours absent a stipulation of the parties
               or a court order modifying this limitation. The Plaintiffs seek leave
               of the Court to depose Mr. Kilgore for three days. TVA opposes this
               request for time beyond the time allotted by Rule 30. Despite the
               parties’ positions, the parties indicated at the hearing that they could
               compromise and agree on a deposition length.



       1
          Geosyntec Consultants, Inc., and WorleyParsons Corporation are defendants in Long v. TVA, et
al., Case No. 3:09-CV-114.

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                The Court finds that a compromise amongst the parties would be the
                most appropriate and equitable resolution to this issue. The parties are
                in the best position to evaluate the information that has been gathered
                from the previous depositions, to consider the narrowing effect of the
                Court’s grant of partial summary judgment, and to then determine the
                appropriate length for Mr. Kilgore’s deposition. Accordingly, the
                parties shall confer in good faith regarding the length of Mr. Kilgore’s
                deposition.

 [Case No. 3:09-CV-06, Doc. 80 at 7].

        Despite the general spirit of cooperation that has prevailed in these cases, the parties could

 not resolve the issue of length, and counsel contacted the Court seeking a telephone conference on

 the matter.   Prior to the conference the parties were given an opportunity to submit written

 statements regarding their positions on the issue for the Court’s review. At the telephone

 conference, Attorney Friedman and Attorney Ansteotter presented the general positions of their

 respective sides, though every attorney was afforded an opportunity to state any concerns or

 divergence of position.

        In pertinent part, the parties represented to the Court that counsel do not have any conflicts

 that would prevent the deposition from being taken on August 31, 2010,2 the date proposed by TVA.

 TVA represented that it would make available a room large enough to accommodate all counsel

 interested in attending the deposition at its headquarters in Knoxville, Tennessee. The Plaintiffs had

 no objection to this location for the deposition other than capacity concerns, which the Court finds

 are alleviated by TVA’s assurance.




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          Though August 31, 2010, appeared to be a date to which there were no specific objections,
Attorney Alexander noted that an earlier date for the deposition might be preferable. The Court left it to
the parties to work out a date which is workable and does not entail undue delay.

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         The parties agreed that the Plaintiffs have taken nineteen (19) depositions of TVA

 employees, without issue. Attorney Friedman noted that some of these depositions have exceeded

 seven hours in length without dispute, but Attorney Anstoetter stated that there had been only

 “limited exceptions” to the one-day/seven-hour limit. The parties confirmed that the majority of the

 depositions taken had been videotaped and that Mr. Kilgore’s deposition would be videotaped.

         Attorney Anstoetter argued that Mr. Kilgore is an apex witness whose testimony will fill gaps

 and should not take more than a few hours. Attorney Friedman and other counsel for the Plaintiffs

 countered that given the number of attorneys who may participate in this deposition, the length and

 substance of the documents to be reviewed, and the variety of topics to be covered, a seven-hour

 limitation would be unduly restrictive.

         As the Court stated in its previous Order, originally, TVA sought to limit the deposition to

 one day of seven hours, while the Plaintiff’s sought three days composed of a total of twenty-one

 (21) hours in which to complete the deposition. At the time of the hearing, TVA proposed that the

 deposition be limited to seven (7) hours but that the Plaintiffs be given an opportunity to seek

 additional time after completing the first seven hours of examination. The Plaintiffs proposed that

 the Court limit the deposition to two days consisting of no more than fourteen hours of examination,

 in total.

         Rule 30(d) of the Federal Rules of Civil Procedure provides that a deposition is limited to

 “1 day of 7 hours,” unless otherwise stipulated or ordered by the court. In the case of Mr. Kilgore’s

 deposition, there clearly will be no stipulation. Rule 30(d) also states: “The court must allow

 additional time consistent with Rule 26(b)(2) if needed to fairly examine the deponent” or if for

 some reason the examination is delayed. Fed. R. Civ. P. 30(d)(1) (emphasis added).


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        The Court finds that it cannot make a judgment as to whether more than “1 day of 7 hours”

 will be needed for a fair examination of Mr. Kilgore until Mr. Kilgore’s deposition, or at least 1 day

 of seven hours of it, has been taken. Therefore, the Court will not order an extended examination

 of Mr. Kilgore at this time. However, Plaintiffs’ counsel are not precluded from requesting

 additional examination time if, in good faith, it is needed to fairly complete the deposition. Any

 such request, if made, shall be in the form of a written motion filed with the Court.

        IT IS SO ORDERED.

                                                       ENTER:

                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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